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                                                     UNITED STATES DISTRICT COURT
                                                        DISTRICT OF COLORADO

                         Civil Case No. 1:20-cv-01485-STV


                         KEITH CLINGMAN,

                                              Plaintiff,

                         v.

                         DRIVE COFFEE, LLC; DRIVE COFFEE, INC.; and
                         ALEX GRAPPO, an individual,

                                              Defendants.


                                                           FIRST AMENDED COMPLAINT



                                                                INTRODUCTION

                              1. Plaintiff Keith Clingman (“Plaintiff”) worked as a Chief Marketing Officer for Defendants’

                                 coffee production company from approximately September of 2019 until April of 2020, or

                                 about seven months. During this time, he was only paid for a very small portion of the

                                 time he worked (approximately two months’ worth).

                              2. To challenge these and other wage violations, Plaintiff brings this action, by and through

                                 his attorneys, against Colorado-based Defendants Drive Coffee, LLC and Alex Grappo, an

                                 individual, to recover unpaid or underpaid wages and other damages under the provisions

                                 of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. (hereinafter

                                 “FLSA”), and, since his work took place almost entirely within New York, under the New

                                 York Labor Law, N.Y. Lab. Law, Art. 19, § 650, et seq. (hereinafter, “NYLL”). Plaintiff

                                 also brings common law breach of contract and unjust enrichment claims based on


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                                Defendants’ failure to honor their promise to compensate the Plaintiff with equity in the

                                company.

                                                         JURISDICTION AND VENUE

                            3. This Court has jurisdiction over the subject matter of the action pursuant to 28 U.S.C. §

                                1332, by virtue of diversity jurisdiction. The Plaintiff is a resident of New York and the

                                Defendants are residents of Colorado. The amount in dispute easily exceeds $75,000

                                because the Plaintiff’s claim to unpaid wages alone exceeds $67,000, not including

                                liquidated damages, statutory damages, attorney fees, or other claims.

                            4. This Court also has jurisdiction over the subject matter of the action pursuant to 28 U.S.C.

                                § 1331, by virtue of federal questions, 29 U.S.C. § 201 et seq. of the FLSA. This Court has

                                supplemental jurisdiction over Plaintiff’s state law claims by authority of 28 U.S.C. § 1367.

                            5. Venue lies with this Court pursuant to 28 U.S.C. § 1391(b) and 29 U.S.C. § 201 et seq. as

                                one or more of the Defendants named herein resides in this district.

                                                                     PARTIES

                         Drive Coffee Defendants

                            6. Defendant Drive Coffee, LLC is a Cololardo limited liability company doing business

                                within Denver County, whose principal place of business was at relevant times located at

                                3801 Race Street, Denver, Colorado 80205. Its registered agent is listed with the Colorado

                                Department of State as Alex Grappo with an address of 205 Jackson St., Denver, CO

                                80206.

                            7. Defendant Drive Coffee, Inc. is a Delaware corporation doing business within Denver

                                County, whose principal place of business was at relevant times located at 3801 Race

                                Street, Denver, Colorado 80205.



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                            8. Drive Coffee, LLC is listed in delinquent status with the Colorado Department of State.

                            9. Drive Coffee, Inc. is listed in delinquent status with the Delaware Department of State.

                            10. Drive Coffee produces high end coffee products. Drive manufactures its products primarily

                                out of a warehouse in the metro Denver area.

                            11. Drive advertises its product as having analogs in the sports car racing world, and it uses

                                images of sports cars in its advertising.

                            12. At all relevant times, Defendant Drive had annual gross revenues in excess of $500,000.

                            13. Defendant Drive purchases coffee beans, supplies, equipment and other necessary items to

                                run its coffee production company and serve its customers from out of state vendors selling

                                such supplies, and equipment originating outside the state of Colorado. Further, Defendant

                                Drive advertises its café to the entire world on the internet at www.drivecoffee.com.

                                Defendant Drive also accepts payments by credit cards and utilizes internet lines to accept

                                and transmit payments.

                            14. At all relevant times, Defendant Drive was engaged in interstate commerce and/or the

                                production of goods for commerce, within the meaning of the FLSA, 29 U.S.C. §§ 206(a)

                                and 207(a).

                            15. At all times material to this action, Defendant Drive was subject to the FLSA and was an

                                “employer” of the Plaintiff, as defined by § 203(b) of the FLSA.

                         Defendant Alex Grappo

                            16. Defendant Alex Grappo, an individual, resides in the metro Denver area, upon information

                                and belief. He is a Colorado resident.

                            17. Defendant Grappo is, and was at all relevant times, the CEO of Drive.




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                            18. Defendant Grappo has an ownership interest in and/or is a shareholder of both Drive Coffee

                                entities.

                            19. Defendant Alex Grappo is one of the ten largest shareholders of Drive Coffee Inc.

                            20. At all times material to this action, Defendant Grappo actively participated in the business

                                of Drive.

                            21. At all times material to this action, Defendant Grappo exercised substantial control over

                                the functions of the company’s employees including Plaintiff. For example, he had the

                                ability and authority to hire and fire employees, set rates of pay, and set employee

                                schedules.

                            22. At all times material to this action, Defendant Grappo was an additional “employer” of the

                                Plaintiff, as defined by § 203(b) of the FLSA.

                         Plaintiff Keith Clingman

                            23. Plaintiff Keith Clingman is a resident of Brooklyn, New York.

                            24. Plaintiff Clingman worked for Drive as a Chief Marketing Officer from September 15,

                                2019 to April 23, 2020.

                            25. At all times material to this action, Plaintiff Clingman was an “employee” within the

                                meaning of 29 U.S.C. § 203(e), the NYLL, and 7 C.C.R. 1103-1(2).

                            26. Plaintiff’s primary supervisor was Alex Grappo.

                            27. While in this position, Plaintiff Clingman’s compensation arrangement with Drive was that

                                he was to be paid a salary at a rate of $150,000, a 4% equity stake, benefits, and unlimited

                                vacation days.

                            28. Plaintiff was wholly unpaid for several months of his employment.




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                                                                LEGAL CLAIMS

                                                 As And For A First Cause of Action:
                                             NEW YORK LABOR LAW (NYLL) VIOLATIONS

                            29. Plaintiff realleges and incorporates by reference each allegation contained in the

                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                            30. At all relevant times, Plaintiff was employed by Defendants within the meaning of the New

                                York Labor Law, §§ 2 and 651.

                         Failure To Pay Wages

                            31. Defendants failed to pay Plaintiff his owed wages, in violation of NYLL § 663.

                         Failure To Pay Minimum Wage

                            32. By paying him nothing at all for many months, Defendants failed to pay Plaintiff the

                                minimum wage for all hours he worked, in violation of NYLL § 652.

                         Failure To Pay Overtime

                            33. By paying the Plaintiff nothing at all for many months, Defendants did not qualify for any

                                exemptions since they did not meet the “salary basis test.”

                            34. To the extent that Plaintiff worked more than 40 hours in any workweek, he is entitled to

                                overtime compensation for those hours, in contravention of N.Y. Comp. Codes R. & Regs.

                                tit. 12, § 142-2.2.

                         Failure To Pay Wages At Prescribed Frequency

                            35. Plaintiff was not consistently paid on regular paydays designated in advance by the

                                employer not less frequently than semi-monthly, in violation of NYLL § 191(1)(d).

                            36. When Plaintiff was separated from the company, Defendants failed to pay the wages owing

                                in his final pay period not later than the regular payday for the pay period during which the

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                                separation occurred, in violation of NYLL § 191(3).

                         Failure to Provide Pay Stubs and Wage Notices

                            37. Defendant failed to furnish Plaintiff with a NYLL statutorily required “wage notice”

                                containing the rate or rates of pay and basis thereof, whether paid by the hour, shift, day,

                                week, salary, piece, commission, or other; allowances, if any, claimed as part of the

                                minimum wage, including tip, meal, or lodging allowances; the regular pay day

                                designated by the employer; the name of the employer; any "doing business as"

                                names used by the employer; the physical address of the employer's main office or

                                principal place of business, and a mailing address if different; and the telephone number

                                of the employer, in contravention of NYLL § 195(1)(a) and § 198(1)(b)

                            38. Defendant failed to furnish Plaintiff with “pay stubs,” or a statement with every payment

                                of wages listing gross wages, deductions and net wages, in contravention of NYLL §

                                195(3), § 198(1)(d) and 12 N.Y. Comp. Codes R. & Regs. 142-2.7.

                         Record-Keeping Failures

                            39. At all relevant times, Defendant Drive failed to keep true and accurate records of hours

                                worked by each employee, the wages paid to all employees, and other similar information

                                in contravention of NYLL § 661.

                            40. Defendant failed to keep a time book showing the names and addresses of its employees

                                and the hours worked by each of them in each day, in contravention of NYLL § 161(4).

                         Damages

                            41. Due to Defendant’s New York Labor Code violations, Plaintiff is entitled to recover his

                                unpaid wages, liquidated damages, statutory penalties, interest, reasonable attorneys’ fees,

                                and costs associated with bringing the action. NY Lab. Code § 663(1).



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                                                      As And For A Second Cause of Action:
                                                              NEGLIGENCE PER SE

                            42. Plaintiff realleges and incorporates by reference each allegation contained in the

                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                            43. Defendants have transported, offered for transportation, shipped, delivered, and/or sold in

                                commerce, goods in the production of which any employee was employed in violation of

                                section 206 or section 207 of the FLSA, in contravention of 29 U.S.C. § 215(a)(1).

                            44. Defendants have shipped, delivered and/or sold coffee and/or related products while they

                                knew     or    should    have      known   that   such    goods    were     produced     in

                                violation of article six or nineteen of the NYLL.

                            45. By violating the “hot goods” provisions of the FLSA and/or NYLL, they have committed

                                negligence per se. Chen v. St. Beat Sportswear, Inc., 364 F. Supp. 2d 269, 292 at n. 36

                                (E.D.N.Y.        2005)          (denying    motion        to      dismiss       negligence

                                claim), citing Bureerong v. Uvawas, 959 F. Supp. 1231, 1236 (C.D. Cal. 1997).



                                                     As And For A Third Cause of Action:
                                              FAIR LABOR STANDARDS ACT (FLSA) VIOLATIONS

                            46. Plaintiff realleges and incorporates by reference each allegation contained in the

                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                         Failure To Pay Minimum Wage

                            47. Defendants failed to pay Plaintiff the minimum wage for all hours worked, in violation of

                                the FLSA.



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                         Failure To Pay Time Overtime Properly

                            48. Defendants failed to compensate Plaintiff at a rate of one- and one-half times his normal

                                hourly rate(s) for all hours over 40 worked in a workweek, in violation of the FLSA.

                         Record-Keeping Failures

                            49. At all relevant times, Defendants failed to make, keep, and preserve accurate records

                                regarding the wages, hours, and other conditions of employment of Plaintiff, in

                                contravention of the FLSA and affiliated Regulations, 29 U.S.C. §§ 211(c), 215(a)(5) and

                                29 C.F.R. § 516.

                         Willful & Not Based On Good Faith & Entitlement to Damages

                            50. Defendants had no good faith basis for believing that their pay practices as alleged above

                                were in compliance with the law.

                            51. At all relevant times, Defendants knew of the FLSA’s requirements regarding minimum

                                wage, overtime, tip credits, and break. In paying Plaintiff in the manner in which they did,

                                Defendants knowingly violated the mandates of the FLSA.

                            52. The foregoing conduct constitutes a “willful” violation of the FLSA, 29 U.S.C. § 255(a).

                            53. As a result of the violations by Defendant of the FLSA, the Plaintiff is entitled to all

                                damages available under the FLSA which include, but are not limited to, all unpaid wages,

                                overtime, liquidated damages, attorney fees, costs, and interest, as set forth in the FLSA,

                                more specifically 29 U.S.C. § 216(b).



                                               As And For A Fourth Cause of Action:
                                            BREACH OF CONTRACT/UNJUST ENRICHMENT

                            54. Plaintiff realleges and incorporates by reference each allegation contained in the

                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

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                                here.

                            55. Plaintiff agreed to perform certain functions for Defendants, in exchange for certain

                                compensation.

                            56. In exchange for his work performed for Drive, part of Plaintiff’s promised compensation

                                was, in addition to his salary and certain benefits, a promise of 4% equity.

                            57. Defendants never provided the Plaintiff with a formal written contract setting forth terms

                                related to this inducement but made several promises that such an agreement was

                                forthcoming.

                            58. Plaintiff was involuntarily separated from his employment with Defendants, without good

                                cause.

                            59. By failing to compensate Plaintiff with equity in the company or an equivalent monetary

                                amount, Defendants breached their contract with Plaintiff.

                            60. In the alternative, were a formal contract not found to exist, Defendants have been unjustly

                                enriched by withholding monies that rightfully belong to Plaintiff. Defendants are liable to

                                Plaintiff in the amount of compensation unlawfully withheld from to him, and other

                                appropriate damages.

                                                               PRAYER FOR RELIEF

                            WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

                                (A)      Award Plaintiff unpaid and underpaid wages due under the FLSA and/or NYLL;

                                (B)      Award Plaintiff liquidated damages in the amount of his unpaid FLSA wages

                                         pursuant to 29 U.S.C. § 216(b);

                                (C)      Award Plaintiff liquidated damages pursuant to NYLL § 663;

                                (D)      Award Plaintiff statutory damages as provided for by the NYLL for failure to



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                                        provide a wage notice and/or pay stubs pursuant to NYLL §198;

                                (E)     Award Plaintiff appropriate damages pursuant to his negligence claims;

                                (F)     Award Plaintiff interest;

                                (G)     Award Plaintiff the costs of this action together with reasonable attorneys' fees; and

                                (H)     Award such other and further relief as this Court deems necessary and proper.


                                                          DEMAND FOR TRIAL BY JURY

                                Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

                         by jury on all questions of fact raised by the complaint.



                                Respectfully submitted, this 31st day of August, 2020.


                                                                           ANDERSONDODSON, P.C.


                                                                           s/ Penn Dodson
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